        Case 1:25-cv-01248-RC          Document 17      Filed 05/07/25    Page 1 of 33




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LEARNING RESOURCES, INC. and
HAND2MIND, INC.,

                       Plaintiffs,

                v.                                     Civ. Action No. 25-cv-01248-RC
DONALD J. TRUMP, President of the United
States, in his official capacity; KRISTI NOEM,
Secretary of the Department of Homeland Security,
in her official capacity; U.S. DEPARTMENT OF
HOMELAND SECURITY; SCOTT BESSENT,
Secretary of the Treasury, in his official capacity;
U.S. DEPARTMENT OF TREASURY;
HOWARD LUTNICK, Secretary of Commerce, in
his official capacity; UNITED STATES
DEPARTMENT OF COMMERCE; PETE R.
FLORES, Acting Commissioner of Customs &
Border Protection, in his official capacity; U.S.
CUSTOMS & BORDER PROTECTION;
JAMIESON GREER, U.S. Trade Representative,
in his official capacity; and THE OFFICE OF THE
U.S. TRADE REPRESENTATIVE,

                       Defendants.


                          PLAINTIFFS’ REPLY IN SUPPORT OF
                        MOTION FOR PRELIMINARY INJUNCTION
           Case 1:25-cv-01248-RC                       Document 17                Filed 05/07/25               Page 2 of 33




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
ARGUMENT .................................................................................................................................. 2
          I.         PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS ......................... 2
                     A.         IEEPA Does Not Authorize The Executive To Impose Tariffs. ................. 2
                                1.         IEEPA’s plain text does not support the government’s
                                           interpretation. ................................................................................. 2
                                2.         Yoshida cannot salvage the IEEPA tariffs. ..................................... 9
                                3.         A clearer statutory basis is required to invoke an unheralded
                                           power of such economic and political magnitude......................... 13
                     B.         The Challenged Tariffs Fail To Comport With IEEPA’s
                                Requirements. ........................................................................................... 16
                                1.         The Universal and Reciprocal IEEPA Order is not based on
                                           an “unusual” national emergency threat. .................................... 16
                                2.         The challenged tariffs are not “reasonably related” to the
                                           claimed national emergency. ........................................................ 18
          II.        PLAINTIFFS HAVE DEMONSTRATED A LIKELIHOOD OF
                     IRREPARABLE HARM ...................................................................................... 20
          III.       THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST FAVOR
                     PLAINTIFFS ........................................................................................................ 22
          IV.        THE COURT SHOULD NOT REQUIRE MORE THAN A NOMINAL
                     BOND ................................................................................................................... 23
          V.         THE COURT MAY TREAT THE PRELIMINARY INJUNCTION
                     MOTION IN A MANNER THAT ALLOWS FOR ENTRY OF FINAL
                     JUDGMENT ......................................................................................................... 24
CONCLUSION ............................................................................................................................. 25




                                                                      i
          Case 1:25-cv-01248-RC                       Document 17               Filed 05/07/25              Page 3 of 33




                                               TABLE OF AUTHORITIES

CASES:

Al-Tamimi v. Adelson,
    916 F.3d 1 (D.C. Cir. 2019) .....................................................................................................18

American Meat Inst. v. United States Dep’t of Agric.,
  760 F.3d 18 (D.C. Cir. 2014) ...................................................................................................19

Baker v. Carr,
   369 U.S. 186 (1962) .....................................................................................................16, 17, 18

Board of Trs. of Univ. of Ill. v. United States,
   289 U.S. 48 (1933) .....................................................................................................................4

Capital Area Immigrants’ Rights Coal. v. Trump,
   471 F. Supp. 3d 25 (D.D.C. 2020) ...........................................................................................25

Cardinal Health, Inc. v. Holder,
   846 F. Supp. 2d 203 (D.D.C. 2012) .........................................................................................22

Corus Grp. PLC v. Bush,
   217 F. Supp. 2d 1347 (Ct. Int’l Trade 2002) ...........................................................................22

DSE, Inc. v. United States,
  169 F.3d 21 (D.C. Cir. 1999) ...................................................................................................24

El-Shifa Pharm. Indus. Co. v. United States,
    607 F.3d 836 (D.C. Cir. 2010) .................................................................................................18

Genus Med. Techs. LLC v. FDA,
   994 F.3d 631 (D.C. Cir. 2021) .................................................................................................17

Georgia v. President of the U.S.,
   46 F.4th 1283 (11th Cir. 2022) ................................................................................................14

Georgia v. Public.Resource.Org, Inc.,
   590 U.S. 255 (2020) .................................................................................................................13

Gibbons v. Ogden,
   22 U.S. (9 Wheat) 1 (1824)....................................................................................................1, 2

Gonzalez-Vera v. Kissinger,
   449 F.3d 1260 (D.C. Cir. 2006) ...............................................................................................19

Hanson v. District of Columbia,
   120 F.4th 223 (D.C. Cir. 2024) ................................................................................................23

                                                                    ii
          Case 1:25-cv-01248-RC                       Document 17               Filed 05/07/25             Page 4 of 33




Helsinn Healthcare S.A. v. Teva Pharms. USA, Inc.,
   586 U.S. 123 (2019) .................................................................................................................13

Htet v. Trump,
   No. 24-cv-1446 (RC), 2025 WL 522033 (D.D.C. Feb. 18, 2025) ...........................................19

In re Verifone Holdings, Inc. S’holder Derivative Litig.,
    No. 07-cv-06347 (MHP), 2009 WL 1458233 (N.D. Cal. May 26, 2009) ...............................17

Kentucky v. Biden,
   23 F.4th 585 (6th Cir. 2022) ....................................................................................................14

Loper Bright Enters. v. Raimondo,
   603 U.S. 369 (2024) .............................................................................................................2, 15

Louisiana v. Biden,
   55 F.4th 1017 (5th Cir. 2022) ..................................................................................................14

Morris v. District of Columbia,
  38 F. Supp. 3d 57 (D.D.C. 2014) .............................................................................................25

Motor & Equip. Mfrs. Ass’n v. Nichols,
   142 F.3d 449 (D.C. Cir. 1998) ...................................................................................................6

National Council of Nonprofits v. Office of Mgmt. & Budget,
   No. 25-cv-239 (LLA), 2025 WL 597959 (D.D.C. Feb. 25, 2025) ..........................................24

National Fed’n of Indep. Bus. v. Sebelius,
   567 U.S. 519 (2012) ...............................................................................................................3, 4

Natural Res. Def. Council, Inc. v. Morton,
   337 F. Supp. 167 (D.D.C. 1971) ..............................................................................................24

Nebraska v. Su,
   121 F.4th 1 (9th Cir. 2024) ......................................................................................................14

Real v. Simon,
   510 F.2d 557 (5th Cir. 1975) .....................................................................................................7

Sacks v. Office of Foreign Assets Control,
   466 F.3d 764 (9th Cir. 2006) ...................................................................................................12

Trop v. Dulles,
   356 U.S. 86 (1958) ...................................................................................................................17

U.S. ex rel. Totten v. Bombardier Corp.,
   380 F.3d 488 (D.C. Cir. 2004) ...................................................................................................7



                                                                    iii
           Case 1:25-cv-01248-RC                         Document 17                 Filed 05/07/25               Page 5 of 33




United States v. Collazo,
   984 F.3d 1308 (9th Cir. 2021) .................................................................................................13

United States v. Hillie,
   14 F.4th 677 (D.C. Cir. 2021) ....................................................................................................3

United States v. Spawr Optical Rsch., Inc.,
   685 F.2d 1076 (9th Cir. 1982) .................................................................................................19

Van Loon v. Department of the Treasury,
   122 F.4th 549 (5th Cir. 2024) ....................................................................................................5

West Virginia v. EPA,
   597 U.S. 697 (2022) .....................................................................................................13, 14, 15

Winter v. Natural Res. Def. Council, Inc.,
   555 U.S. 7 (2008) .....................................................................................................................20

Yoshida Int’l, Inc. v. United States,
   378 F. Supp. 1155 (Cust. Ct. 1974) ...............................................................................9, 10, 11
   526 F.2d 560 (C.C.P.A. 1975) .................................................................................9, 11, 12, 19

Youngstown Sheet & Tube Co. v. Sawyer,
   343 U.S. 579 (1952) .................................................................................................................14

Zivotofsky ex rel. Zivotofsky v. Clinton,
   566 U.S. 189 (2012) .................................................................................................................19

CONSTITUTION AND STATUTES:

U.S. CONST.
   art. I, § 8, cl. 1 ........................................................................................................................1, 2
   art. I, § 8, cl. 3 ............................................................................................................................2

2 U.S.C.
   § 622(8)(B)(1) ............................................................................................................................5

15 U.S.C.
   § 78k(a)(2) .............................................................................................................................4, 6

16 U.S.C.
   § 460bbb-9(a) .............................................................................................................................5

19 U.S.C.
   § 1484(a)(2)(B) ..........................................................................................................................8
   § 2132(a) ..................................................................................................................................12
   § 2411(c) ..................................................................................................................................12


                                                                        iv
           Case 1:25-cv-01248-RC                          Document 17                 Filed 05/07/25               Page 6 of 33




21 U.S.C.
   § 360bbb-2(a) .............................................................................................................................4

49 U.S.C.
   § 40117(j) ...................................................................................................................................4

50 U.S.C.
   § 1621(a) ..................................................................................................................................17
   § 1701(a) ............................................................................................................................16, 17
   § 1701(b) ............................................................................................................................18, 19
   § 1702(a)(1) ...............................................................................................................................6
   § 1702(a)(1)(B) ..................................................................................................................3, 6, 7
   § 1702(a)(2) ...............................................................................................................................8

Securities Exchange Act of 1934, Pub. L. No. 73-291, § 11(a)(1), 48 Stat. 881,
   891..............................................................................................................................................4

OTHER AUTHORITIES:

CASEY, CHRISTOPHER A. & PAUL K. KERR, R46814, CONG. RSCH. SERV., THE
   U.S. EXPORT CONTROL SYSTEM AND THE EXPORT CONTROL REFORM ACT OF
   2018 (2021) ............................................................................................................................5, 6

Collins, Michael ‘Two Dolls Instead of 30’: Trump Acknowledges Prices Will
   Force Consumers to Cut Back, USA TODAY (Apr. 30, 2025) .................................................21

Compel, RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE (1973) .................................3

Direct, BLACK’S LAW DICTIONARY 546 (4th ed. 1968) ...................................................................3

Exec. Order No. 14,257, Regulating Imports with a Reciprocal Tariff to Rectify
   Trade Practices that Contribute to Large and Persistent Annual United States
   Goods Trade Deficits, 90 Fed. Reg. 15,041 (Apr. 2, 2025) .....................................................16

FED. R. CIV. P.
   65(a)(2) ....................................................................................................................................25
   65(c) .........................................................................................................................................24

H. REP. NO. 95-459 (1977).............................................................................................9, 12, 15, 17

Investigate, WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY OF THE
    ENGLISH LANGUAGE UNABRIDGED (1971) .................................................................................3

Nullify, RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE (1973) ...................................3

Prevent, WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY OF THE ENGLISH
   LANGUAGE UNABRIDGED (1971)................................................................................................3


                                                                         v
          Case 1:25-cv-01248-RC                     Document 17              Filed 05/07/25             Page 7 of 33




Proclamation No. 4074, 36 Fed. Reg. 15,724 (Aug. 17, 1971) .....................................................10

Proclamation No. 4098, 36 Fed. Reg. 24,201 (Dec. 22, 1971) ......................................................10

Prohibit, WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY OF THE ENGLISH
   LANGUAGE UNABRIDGED (1971)................................................................................................4

Regulate, NEW WEBSTER’S DICTIONARY OF THE ENGLISH LANGUAGE (1975) ................................3

Tariff, RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE (1973) ......................................3

Tax, RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE (1973) .........................................3

The Toy Association, Christmas and Toy Companies are at Risk! Toy Association
   Member Survey Reveals Alarming Impact of 145% Tariffs (Apr. 18, 2025) ...........................21

U.S. Customs & Border Protection, Entry Summary and Post Release Processes
   (last modified Apr. 10, 2025).....................................................................................................8

Unusual, NEW WEBSTER’S DICTIONARY OF THE ENGLISH LANGUAGE (1975) .............................17

Void, RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE (1973) ......................................3

Young, Liz, A Step-by-Step Look at How Trump’s New Tariffs Will Be
   Implemented, WALL ST. J. (Apr. 9, 2025) ..................................................................................8




                                                                 vi
       Case 1:25-cv-01248-RC           Document 17        Filed 05/07/25      Page 8 of 33




                                        INTRODUCTION
       The text of IEEPA does not support the imposition of tariffs at all—much less the

unprecedented and astronomical tariffs at issue causing extraordinary harm to Plaintiffs’

educational toy businesses. Plaintiffs are entitled to a preliminary injunction to stop any further

irreparable damage before it is too late.

       The critical question in this case is whether Congress intended to authorize the President

to impose tariffs—or, as our Constitution says, the “[p]ower [t]o lay and collect Taxes, Duties,

Imposts,” U.S. Const. art. I, § 8, cl. 1—when it authorized him to “regulate” importation. The

answer is no. The power to regulate and the power to tax have long been understood as distinct

powers, “not *** similar in their terms or their nature.” Gibbons v. Ogden, 22 U.S. (9 Wheat) 1,

198-199 (1824). That understanding persisted at the time of IEEPA’s enactment, with the former

contemporaneously defined as concerned with rules and the latter with raising revenue. It is thus

no surprise that the government is unable to point to any other statute where the term “regulate”

has been understood to include the power to tax. Nor can the government point to any other

President that has understood IEEPA to grant the power to impose tariffs—even this President in

his first term. Courts require a sturdier reed on which to rest unheralded powers of such grave

economic and political consequence.

       Given its thin textual justification, the government leans heavily on Yoshida, a single 50-

year-old panel decision from the predecessor to the Federal Circuit involving a different statute.

But there is nothing settled about that non-binding decision, which reversed a three-judge court

concluding that the President lacked statutory power to impose tariffs. Nor is the appellate decision

persuasive on its own terms. Yoshida’s purposive approach, in conflict with the Supreme Court’s

modern text-based doctrines, reasoned that the President must have adequate tools to deal with a



                                                 1
        Case 1:25-cv-01248-RC          Document 17        Filed 05/07/25      Page 9 of 33




national emergency. What it failed to appreciate was that Congress placed limits on what the

President’s toolbox contains.

        The government’s plea for deference is misplaced. This case rises and falls on a judicial

determination of exactly what powers, within what limits, Congress delegated to the Executive.

That exercise in statutory interpretation is “exclusively a judicial function,” which courts are “not

at liberty to surrender, or to waive[.]” Loper Bright Enters. v. Raimondo, 603 U.S. 369, 387 (2024).

        Finally, there can be no doubt that Plaintiffs are irreparably harmed by the challenged

tariffs: as their declaration details, their business cannot avoid real, immediate, and devastating

injury from 145% tariffs on imports from the source of 60% of their products. The government’s

concerns about nationwide injunctions have no traction here, where Plaintiffs seek injunctive relief

only for themselves—limited relief that saves their small business without jeopardizing the “public

interest.”

                                          ARGUMENT
I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
        A.     IEEPA Does Not Authorize The Executive To Impose Tariffs.

               1.      IEEPA’s plain text does not support the government’s interpretation.

        Congress uses unmistakable language when delegating its constitutional “Power to lay and

collect Taxes, Duties, and Excises” to the President. Pls.’ Br. 17. Yet the government concedes (as

it must) that the words “taxes,” “duties,” or “tariffs” (or anything similar) appear nowhere in

IEEPA. Resp. 11. The government instead contends that the term “regulate” implies the authority

to impose tariffs. But the power to “regulate” is categorically different from the power to “tax” or

“tariff.” That is why the Constitution itself separates them. See U.S. CONST. art. I, § 8, cls. 1 and

3. As Chief Justice Marshall explained over two centuries ago, “the two grants are not *** similar

in their terms or their nature.” Gibbons, 22 U.S. at 198-199.


                                                 2
       Case 1:25-cv-01248-RC          Document 17        Filed 05/07/25     Page 10 of 33




       The plain meaning of “regulate” versus “tax” (or “tariff”) at the time of IEEPA’s enactment

confirms the distinction between the two. Regulation concerns the imposition of “rules or

restrictions” with an eye to controlling or governing a matter. E.g., Regulate, NEW WEBSTER’S

DICTIONARY OF THE ENGLISH LANGUAGE 1264 (1975) (“to govern by or subject to certain rules or

restrictions”). By contrast, taxes are “sum[s] of money demanded by a government for its support

or for specific facilities or services, levied upon incomes, property, sales, etc.” Tax, RANDOM

HOUSE DICTIONARY OF THE ENGLISH LANGUAGE 1456 (1973). And tariffs are simply schedules of

“duties or customs”—i.e., taxes—“imposed by a government on imports or exports.” Tariff,

RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE 1454 (1973). As the Supreme Court

recently explained, “the essential feature of any tax” is that “[i]t produces at least some revenue

for the Government.” National Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 564 (2012).

       Nothing in section 1702(a)(1)(B) of IEEPA suggests an intent to deviate from the

traditional distinction between the power to regulate (i.e., establish rules governing conduct) and

the power to tax (i.e., raise revenue). To the contrary, the rest of section 1702(a)(1)(B) indicates

that Congress did not understand the general term “regulate” to encompass the latter power.

Notably, no other verb employed in the relevant provision—“investigate,” “direct,” “compel,”

“nullify,” “void,” “prevent,” and “prohibit”1—indicates the power to raise revenue. See United



   1
      To “investigate” is to “observe or study closely; inquire into systematically.” Investigate,
WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY OF THE ENGLISH LANGUAGE UNABRIDGED
1189 (1971). To “direct” is to “guide; order; command; instruct.” Direct, BLACK’S LAW
DICTIONARY 546 (4th ed. 1968). To “compel” is to “force or drive, esp[ecially] to a course of
action.” Compel, RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE 300. To “nullify” is
to “render or declare legally void or inoperative,” as in the case of a “contract.” Nullify, RANDOM
HOUSE DICTIONARY OF THE ENGLISH LANGUAGE 988. To “void” is to “make ineffectual;
invalidate; nullify.” Void, RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE 1599. To
“prevent” is to “hinder the progress, appearance, or fulfillment of.” Prevent, WEBSTER’S THIRD
NEW INTERNATIONAL DICTIONARY OF THE ENGLISH LANGUAGE UNABRIDGED 1798. And to


                                                 3
       Case 1:25-cv-01248-RC           Document 17         Filed 05/07/25      Page 11 of 33




States v. Hillie, 14 F.4th 677, 688 (D.C. Cir. 2021) (A statutory term’s “meaning[ ] [is] narrowed

by the commonsense canon of noscitur a sociis—which counsels that a word is given more precise

content by the neighboring words with which it is associated.” (alterations in original)).

        To be sure, taxation can sometimes be viewed as a “regulat[ory]” tool in a broad sense. See

Resp. 12 (citing Board of Trs. of Univ. of Ill. v. United States, 289 U.S. 48, 58 (1933)); cf. Sebelius,

567 U.S. at 564 (concluding Affordable Care Act’s individual mandate was constitutional under

Congress’s power to tax but not its power to regulate commerce). But Defendants cite no authority

for the proposition that Congress’s bare grant to the Executive of the power to “regulate” somehow

encompasses the unilateral power to demand discretionary sums of money from U.S. citizens.

They cannot cite a single other statute in which a grant to the Executive of the power to “regulate”

is understood as authority to impose taxes or tariffs. The Securities and Exchange Commission has

had the power to “regulate” certain “transactions on a national securities exchange” for nearly a

century. 15 U.S.C. § 78k(a)(2); see also Securities Exchange Act of 1934, Pub. L. No. 73-291,

§ 11(a)(1), 48 Stat. 881, 891 (“The Commission shall prescribe *** rules and regulations *** to

regulate or prevent floor trading by members of national securities exchanges.” (emphasis added)).

Yet the SEC has never thereby asserted a power to tax such transactions. Nor has the Food and

Drug Administration claimed the power to tax any “drug, biological product, device,

or *** combination product” based on that agency’s authority to “regulate” such products. 21

U.S.C. § 360bbb-2(a). No surprise that when Congress does seek to address the authority to

regulate and the authority to tax in a single provision, it names the two as individually distinct

powers. See, e.g., 49 U.S.C. § 40117(j) (state actors may not “tax, regulate, or prohibit *** the




“prohibit” is to “forbid by authority or command.” Prohibit, WEBSTER’S THIRD NEW
INTERNATIONAL DICTIONARY OF THE ENGLISH LANGUAGE UNABRIDGED 1813.
                                                   4
        Case 1:25-cv-01248-RC         Document 17        Filed 05/07/25      Page 12 of 33




imposition or collection of a passenger facility charge or the use of the revenue from the passenger

facility charge” (emphasis added)); 16 U.S.C. § 460bbb-9(a) (specifying state still had power “to

tax *** private property on the lands and waters included in the recreation area, or to regulate the

private lands within the recreation area” (emphases added)); see also 2 U.S.C. § 622(8)(B)(1)

(“government-sponsored enterprise” does not have “power to tax or to regulate interstate

commerce” (emphasis added)).

         The government has little response to the fact that IEEPA’s plain language does not

empower the Executive Branch to impose tariffs. It argues that section 1702 of IEEPA grants the

President “wide-ranging powers.” Resp. 13. But that grant “is not limitless.” Van Loon v.

Department of the Treasury, 122 F.4th 549, 571 (5th Cir. 2024). Section 1702 is a reticulated

scheme that lists a number of distinct methods by which the President can control property in

which a foreign country or person has an interest. When the property is subject to U.S. jurisdiction,

those powers allow the President to temporarily “block” or permanently “prohibit” the acquisition,

importation, or exportation of such property. They allow him to “nullify” a transaction involving

that property or “compel” its transfer. And they allow him to “regulate” such property transactions

through, for instance, the Export Administration Regulations (“EAR”), which establish licensing

policies and conditions for dual-use and certain defense articles (transferred from IEEPA to

another statute since 2001). CHRISTOPHER A. CASEY & PAUL K. KERR, R46814, CONG. RSCH.

SERV., THE U.S. EXPORT CONTROL SYSTEM AND THE EXPORT CONTROL REFORM ACT OF 2018

(2021).2 But nothing in IEEPA authorizes the President to impose revenue-raising tariffs on that

property. See Amicus Brief of Former Senators, Attorney General, Federal Judges, and Scholars




   2
       https://www.congress.gov/crs-product/R46814.
                                                 5
       Case 1:25-cv-01248-RC          Document 17        Filed 05/07/25      Page 13 of 33




6-26, V.O.S. Selections, Inc. v. Donald J. Trump, No. 1:25-cv-00066-GSK-TMR-JAR (Ct. Int’l

Trade Apr. 28, 2025), ECF No. 31.

       The verb “regulate” thus grants the President powers related to but distinct from the powers

to block, prohibit, compel, and direct that section 1702(a)(1)(B) also grants. The government

nonetheless argues that “regulat[e]” must mean “tariff[]” because otherwise “it would mean little,

if anything, other than the power to ‘prevent or prohibit’ imports—leaving the term largely

superfluous.” Resp. 13. But the government elsewhere admits that “many” of “the[] terms

grant[ing] the President” power in IEEPA 1702(a)(1)(B) “partially or fully overlap,” id., so there

would be nothing anomalous if “regulate” overlapped with other terms too. Regardless, the notion

that “regulate” means only “prohibit” or “tariff,” and nothing else, blinks reality. As explained, it

is well understood that the power to regulate includes the power to control an object’s quality or

quantity, to establish reporting obligations, or to impose licensing requirements. See, e.g., Motor

& Equip. Mfrs. Ass’n v. Nichols, 142 F.3d 449, 452 (D.C. Cir. 1998) (describing how the Clean

Air Act “regulates air pollution by establishing air quality standards for certain pollutants and

controlling the emissions of approximately 189 hazardous pollutants” (emphasis added)). That is

why other statutes distinguish between the power to “regulate” and the power to “prohibit.” See

15 U.S.C. § 78k(a)(2) (authorizing the Securities and Exchange Commission to “regulate or

prohibit” certain “transactions on a national securities exchange”) (emphasis added)). And that is

why IEEPA has been invoked as authority for the EAR— which, in establishing a licensing regime

for dual-use exports, does far more than merely “prevent or prohibit.” See CASEY & KERR, supra.

       It is the government’s interpretation that would render much of section 1702(a)(1)

superfluous. If “regulate” has as broad a meaning as the government contends, there would be no

need for the provision to specify the President’s power to “investigate, block during the pendency



                                                 6
       Case 1:25-cv-01248-RC           Document 17       Filed 05/07/25      Page 14 of 33




of an investigation, regulate, direct and compel, nullify, void, prevent or prohibit *** any property

in which any foreign country or a national thereof has any interest.” Under the government’s

reading, Congress would have accomplished the exact same thing by simply authorizing the

President “to regulate any property in which any foreign country or a national thereof has any

interest.” The government’s construction thus suffers from the “fatal flaw” of “yield[ing] exactly

the same meaning that would result if [the statute] did not contain the [additional] words *** at

all.” U.S. ex rel. Totten v. Bombardier Corp., 380 F.3d 488, 498 (D.C. Cir. 2004). Indeed, if

IEEPA’s use of “regulate” authorized tariffs upon the President’s designation of a national

emergency (which the government contends is unreviewable), then it would also render nugatory

the multiple laws that Congress enacted in Title 19 specifically to channel the President’s

imposition of tariffs. See Pls.’ Br. 20-21.

       That the President purports to “regulate” property in which no foreign person or country

has any “interest” whatsoever underscores that IEEPA does not authorize tariffs. IEEPA does not

apply to all property, but only “property in which any foreign country or a national thereof has

any interest.” 50 U.S.C. § 1702(a)(1)(B) (emphasis added). To fall under section 1702(a)(1)(B),

there must be some foreign “interest” in the relevant “property,” and the interest must be one that

the foreign country or national “has”—that is, it must be a present interest in the property. See

Real v. Simon, 510 F.2d 557, 562 (5th Cir. 1975) (concluding the Trading with the Enemy Act

(“TWEA”) did not apply because no foreign national “retains an interest” in the relevant property

(emphasis added)). Had Congress wished to include property in which a foreign country or national

previously had an interest, Congress could easily have done so—exactly as it did in the same

subsection, specifying that the President could require individuals to keep records of property in




                                                 7
          Case 1:25-cv-01248-RC        Document 17       Filed 05/07/25     Page 15 of 33




which a foreign country or national “has or has had any interest.” 50 U.S.C. § 1702(a)(2)

(emphasis added).

          Defendants cannot dispute that much imported property (including Plaintiffs’ own

property, see Woldenberg Decl. ¶ 5) is property in which no foreign country or national thereof

has any present “interest” at the time the duty is paid domestically by U.S. importers, which often

already have taken full title and control all interests in the imported goods. See 19 U.S.C.

§ 1484(a)(2)(B) (generally authorizing only “owner or purchaser of the merchandise” to be

importer of record). Tariffs on imported goods are typically paid after the merchandise is entered

into the United States. See U.S. Customs & Border Protection, Entry Summary and Post Release

Processes, https://www.cbp.gov/trade/programs-administration/entry-summary (last modified

Apr. 10, 2025) (“Within 10 days of the release of the cargo, the importer must pay the estimated

duties on their imported goods.”); see also Liz Young, A Step-by-Step Look at How Trump’s New

Tariffs       Will     Be     Implemented,       WALL       ST.     J.     (Apr.      9,     2025),

https://www.wsj.com/economy/trade/trump-reciprocal-tariffs-work-guide-47527fbc             (“Levies

aren’t collected at a tollbooth as goods cross the border. Instead, importers must calculate and pay

the duties electronically or by check after the fact.”). It also makes no difference that IEEPA’s

reach extends beyond “mere ownership.” Resp. 29. Whatever “ownership” entails, all agree that

there must be some actual foreign interest in the relevant property, which is all Defendants’

unremarkable authority confirms. See id. at 29-30. Defendants’ interpretation of “regulate” as

encompassing the power to levy tariffs would empower the President to tax property wholly owned

and controlled by U.S. persons on American soil—something IEEPA does not allow.

          The government also invokes legislative history and context as purported support for its

interpretation. Resp. 19-20. But it does not (and cannot) refute the fact that there is zero mention



                                                 8
       Case 1:25-cv-01248-RC          Document 17        Filed 05/07/25      Page 16 of 33




(explicitly or implicitly) of a power to levy tariffs in any of the history leading to either TWEA or

IEEPA. See Pls.’ Br. 16-28; see also Opp’n to Defs.’ Mot. to Transfer to the U.S. Court of Int’l

Trade 9, State of Cal. v. Donald J. Trump, No. 3:25-cv-03372-JSC (N.D. Cal. May 1, 2025), ECF

No. 12. And, as discussed next, the government misunderstands the sole historical example on

which it relies.

                   2.   Yoshida cannot salvage the IEEPA tariffs.

        Tellingly, it is not section 1702’s text that the government leans on most heavily, but

instead a decades-old decision from the United States Court of Customs and Patent Appeals

(“CCPA”) analyzing a different statute. See Resp. 2, 4, 12, 14, 16-19, 23, 26-28, 32, 35. That

Yoshida decision, in turn, reversed a decision from a three-judge panel of the U.S. Customs Court

(which the government elsewhere refers to as an expert court). The customs court had concluded

that TWEA did not authorize President Nixon to impose tariffs. Yoshida Int’l, Inc. v. United States

(Yoshida I), 378 F. Supp. 1155, 1162 (Cust. Ct. 1974), rev’d, Yoshida II, 526 F.2d 560 (C.C.P.A.

1975). The CCPA’s contrary decision holds no precedential value for this Court, was wrongly

decided, and in any case is inapposite.

        At the threshold, the government errs in saying President Nixon “invoked TWEA” or

“use[d] *** TWEA to impose tariffs.” Resp. 2, 17; see id. at 23. As the House Report on IEEPA

explains, “[TWEA] was not among the statutes cited in the President’s proclamation as authority

for the surcharge[.]” H. REP. NO. 95-459, at 5 (1977) (emphasis added). Instead, TWEA was only

“cited later by the Government in response to a suit brought in Customs Court by Yoshida

International challenging the surcharge.” Id. Although Plaintiffs’ motion made that clear, Pls.’ Br.

25, the government misleadingly implies otherwise by selectively quoting the same legislative

history. Compare Resp. 17 (House Report “recounted that ‘section 5(b) [of TWEA] came into play



                                                 9
        Case 1:25-cv-01248-RC          Document 17         Filed 05/07/25    Page 17 of 33




when *** President Nixon declared a national emergency *** and under that emergency imposed

a surcharge on imports[.]” (first alteration and ellipses in original)).

        In reality, President Nixon’s August 1971 proclamation imposing a tariff on imported

goods, Proclamation No. 4074, 36 Fed. Reg. 15,724 (Aug. 17, 1971)—which was rescinded four

months later, Proclamation No. 4098, 36 Fed. Reg. 24,201 (Dec. 22, 1971)—cited only the Tariff

Act of 1930 and the Trade Expansion Act of 1962. When an importer later challenged those tariffs

in the U.S. Customs Court (the predecessor to the Court of International Trade), the government

in litigation relied on the two acts the Proclamation had cited but also advanced an alternative

argument that the tariffs were authorized by section 5(b) of the TWEA. Yoshida I, 378 F. Supp. at

1157.

        A three-judge Customs Court panel held that section 5(b) of TWEA could not authorize

the tariffs because “regulate” as used in section 5(b) did not include the imposition of tariffs. 378

F. Supp. at 1172. Among other reasons, TWEA contained “delineating and restrictive

phraseology” that “was employed in order to preclude the all-encompassing construction” of

“regulate” urged by the government. Id. Otherwise, TWEA would grant the President the power

to impose tariffs “at will, without regard to statutory rates prescribed by the Congress and without

the benefit of standards or guidelines which must accompany any valid delegation of a

constitutional power by the Congress.” Id. Judge Maletz’s concurring opinion comprehensively

reviewed section 5(b)’s history, concluding that “nowhere in the Congressional debates, committee

hearings or reports on section 5(b) and the amendments thereto is there even a glimmer of a

suggestion that Congress ever intended—or even considered—this section as a vehicle for

delegating any of its tariff-making authority.” Id. at 1176-1184 (Maletz, J., concurring). He further




                                                  10
       Case 1:25-cv-01248-RC           Document 17         Filed 05/07/25      Page 18 of 33




noted that Congress had affirmatively rejected prior attempts to allow the President “carte blanche

authority” to impose tariffs. Id. at 1184.

       On appeal, however, the CCPA reversed. In doing so, the CCPA took an explicitly

purposive rather than textualist approach to conclude that the President could impose tariffs under

TWEA’s grant of the “power to ‘regulate importation.’” Yoshida, 526 F.2d at 573. The CCPA

acknowledged that “no undelegated power to regulate commerce, or to set tariffs, inheres in the

Presidency,” id. at 572; that “nothing in the TWEA or in its history *** specifically either

authorizes or prohibits the imposition of a surcharge,” id. at 572-573; and that “Congress did not

specify that the President could use a surcharge in a national emergency.” Id. at 576. The CCPA

nevertheless concluded that because nothing in the legislative history of section 5(b) indicated an

intent to prohibit tariffs, section 5(b) necessarily must have authorized the imposition of tariffs. Id.

Looking to TWEA’s purpose, the CCPA emphasized that “the primary implication of an

emergency power is that it should be effective to deal with a national emergency successfully.” Id.

at 573. Rather than analyze TWEA’s list of specific powers, the CCPA simply noted that the

statute’s grant of authority was “broad indeed.” Id. And while purporting to agree with the Customs

Court regarding the “necessity of determining the scope and extent of delegated regulatory power,”

id. at 574, the CCPA placed no parameters on the meaning of “regulate” at all—including vis-à-

vis tariffs, id. at 578-579. But as the Customs Court explained, recognizing that tariffs sometimes

serve regulatory purposes (broadly speaking) does not answer the crucial question of whether

Congress intended “th[is] statutory language” to authorize the Executive Branch to impose tariffs.

378 F. Supp. at 1171 (emphasis added).

       At the same time, the CCPA’s decision betrayed concern about the constitutional tension

its holding created: IEEPA “do[es] not here sanction the exercise of an unlimited power, which,



                                                  11
       Case 1:25-cv-01248-RC           Document 17        Filed 05/07/25       Page 19 of 33




we agree with the Customs Court, would be to strike a blow to our Constitution.” Yoshida, 526

F.2d at 583. The CCPA thus stressed certain limitations: that the 1971 tariffs did not actually apply

to all imports but only to imports where there had been prior tariff concessions, id.; that the tariffs

were capped at tariff rates that had been set by Congress (and that, if the new rates exceeded

congressionally set rates, Congress’s rates would control), id. at 577-578; and that the tariffs were

short-lived (less than five months), id. at 582 n.33; see also id. at 577 (heading called “Limited

Nature of Proclamation 4074”). None of these caveats would be necessary if TWEA truly granted

the President broad and expansive tariffing authority to deal with any declared emergency.

       In any event, the CCPA’s decision in Yoshida is ultimately inapposite—not just because it

is not binding on this Court, but also because it did not in fact analyze IEEPA. IEEPA was enacted

“to counter the perceived abuse of emergency controls by presidents to *** interfere with

international trade in non-emergency, peacetime situations.” Sacks v. Office of Foreign Assets

Control, 466 F.3d 764, 776 (9th Cir. 2006); see also H. REP. NO. 95-459, at 1 (describing IEEPA

as “redefin[ing] the power of the President to regulate international economic transactions in future

times of war or national emergency” and, compared with TWEA, providing “somewhat narrower

powers subject to congressional review in times of ‘national emergency’ short of war”); H. REP.

NO. 95-459, at 10 (Congress wanted IEEPA “standby authority” powers to be “more restricted

than those available during time of war”). Moreover, just before enacting IEEPA, Congress passed

Section 122 of the Trade Act of 1974, which specifically addressed trade exigencies and authorized

the President to impose an “import surcharge *** in the form of duties *** on articles imported

into the United States” to “deal with large and serious United States balance-of-payments deficits,”

19 U.S.C. § 2132(a), and to respond to other countries’ burdensome trade practices by imposing

“duties or other import restrictions,” id. § 2411(c). There would have been no need for Section 122



                                                  12
         Case 1:25-cv-01248-RC          Document 17    Filed 05/07/25      Page 20 of 33




if Congress understood TWEA—and then IEEPA—to cover the same ground. These

developments make clear that Congress did not intend to lodge any tariff power in IEEPA at all.

         The government nonetheless suggests that Congress must have intended to empower the

President to impose tariffs under IEEPA simply because IEEPA carried over some of TWEA’s

language, and Congress was aware of the Yoshida decisions when it enacted IEEPA. Resp. 17. But

courts assume that Congress adopts an “earlier judicial construction of [a] phrase” only “[w]here

there is settled precedent”—such as Supreme Court precedent—“on the interpretation of a statute.”

United States v. Collazo, 984 F.3d 1308, 1328 (9th Cir. 2021) (emphasis added); see Georgia v.

Public.Resource.Org, Inc., 590 U.S. 255, 270 (2020) (“[W]e presume that Congress ‘adopted also

the construction given by this Court to such language, and made it a part of the enactment.’”

(emphasis added) (quoting Helsinn Healthcare S.A. v. Teva Pharms. USA, Inc., 586 U.S. 123, 131

(2019)). Two conflicting lower court decisions from a single case taking opposite stances on the

construction of a statute hardly count as “settled precedent.” And Congress’s other legislative

responses to President Nixon’s actions confirm that it was creating different, more-limited tools,

not blessing the President’s actions.

               3.      A clearer statutory basis is required to invoke an unheralded power of
                       such economic and political magnitude.

         The magnitude of the IEEPA tariffs’ economic and political consequences—combined

with the fact that no President has ever previously relied on IEEPA (or even TWEA) to impose a

tariff—requires the government to point to a “clear” statutory basis for that power. West Virginia

v. EPA, 597 U.S. 697, 722-724 (2022); see Pls.’ Br. 27-29. The government cannot make that

showing. In fact, it hardly tries, primarily arguing that the “major questions” doctrine does not

apply.




                                               13
       Case 1:25-cv-01248-RC           Document 17         Filed 05/07/25      Page 21 of 33




        For one, the government claims (Resp. 21) that the doctrine does not apply to presidential

actions at all. But in the doctrine’s short history, three appellate courts have already said otherwise.

See Kentucky v. Biden, 23 F.4th 585, 606-608 (6th Cir. 2022) (applying major questions doctrine

to exercise of President’s proprietary authority); Louisiana v. Biden, 55 F.4th 1017, 1029 (5th Cir.

2022) (same); Georgia v. President of the U.S., 46 F.4th 1283, 1295-1296 (11th Cir. 2022) (same);

see also Nebraska v. Su, 121 F.4th 1, 17-22 (9th Cir. 2024) (Nelson, J., concurring) (closely

analyzing whether “major questions doctrine” applies to presidential delegations and concluding

that “nothing excuses the President from its commands”). Defendants unsurprisingly cite no

contrary authority. The major questions doctrine is fundamentally concerned with the question of

delegation of congressional authority; that is, whether Congress intended “to confer [the]

authority” now claimed by the Executive Branch. West Virginia, 597 U.S. at 721; see also id.

(asking whether Congress could “have intended to delegate *** sweeping and consequential

authority in so cryptic a fashion” (internal quotation marks omitted)). After all, absent vigilance

over limits on delegated authority, “[l]egislation would risk becoming nothing more than the will

of the current President[.]” Id. at 739 (Gorsuch, J., concurring).

        The government next suggests that the major questions doctrine does not apply to national-

security and foreign-policy matters because presidents are typically afforded deference in those

areas. Resp. 21-22. But when the President assumes powers “the Constitution has expressly

confided to the Congress and not to the President,” Youngstown Sheet & Tube Co. v. Sawyer, 343

U.S. 579, 582 (1952)—like the power to tariff—deference is afforded only so long as the President

acts “pursuant to the ‘authorization of Congress,’” Resp. 22 (quoting Youngstown, 343 U.S. at

635-636). The major questions doctrine is a tool for determining the parameters of any such

authorization. And while deference might be afforded to the President when it comes to factfinding



                                                  14
       Case 1:25-cv-01248-RC           Document 17        Filed 05/07/25      Page 22 of 33




or where Congress has unambiguously left a decision to the President’s discretion, no deference is

otherwise owed the President’s statutory interpretation. See Loper Bright, 603 U.S. at 388-389.

That is particularly so when the interpretation concerns the scope of delegated authority—“perhaps

the occasion on which abdication *** is least appropriate.” Id. at 401.

       The government moreover conflates the President’s goal (foreign policy) with his means

(tariffs). Resp. 23-24. He may have constitutional power and delegated authority for the former,

but what matters is his constitutional power and delegated authority for the latter. See West

Virginia, 597 U.S. at 730 (“Forbidding evictions may slow the spread of disease, but the CDC’s

ordering such a measure certainly raise[s] an eyebrow. We would not expect the Department of

Homeland Security to make trade or foreign policy even though doing so could decrease illegal

immigration.” (alteration in original) (internal quotation marks and citation omitted)). When

Congress does delegate its tariff authority to the Executive Branch, it enacts carefully tailored laws

that expressly permit the President or an agency to impose tariffs in specified circumstances after

following required procedures. See Pls.’ Br. 17, 20-21. It does not trust the Executive with the

unbridled authority he now claims under IEEPA.

       The government finally contends that the President’s exercise of tariff power under IEEPA

is not unprecedented given that “[t]he President exercised his tariff power under materially

identical language in IEEPA’s predecessor statute.” Resp. 23. But again, that is false: President

Nixon did not invoke TWEA to support his authority to impose peacetime tariffs; instead,

government counsel cited it only after the fact to defend his actions in court. H. REP. NO. 95-459,

at 5. Such post hoc, made-for-litigation justification is hardly a compelling “assertion of power by

those who presumably would be alert to exercise it.” West Virginia, 597 U.S. at 725. As for the




                                                 15
       Case 1:25-cv-01248-RC          Document 17        Filed 05/07/25      Page 23 of 33




rest of the government’s purportedly “robust” history (Resp. 23), none involves an imposition of

tariffs pursuant to IEEPA.

       If this Court has any doubts as to whether IEEPA authorizes the President to impose tariffs,

it should rely on the doctrine of constitutional avoidance to conclude it does not. See Pls.’ Br. 36-

38. The government’s interpretation—granting the President unfettered and unreviewable

discretion to declare emergencies and remake the American and global economies by imposing

tariffs of any size or duration—raises far more than a “serious doubt” about the constitutionality

of IEEPA.

       B.      The Challenged Tariffs Fail To Comport With IEEPA’s Requirements.

               1.      The Universal and Reciprocal IEEPA Order is not based on an “unusual”
                       national emergency threat.

       Beyond IEEPA’s lack of tariff authority, IEEPA limits the President to addressing only a

threat that is “unusual and extraordinary.” 50 U.S.C. § 1701(a). The annual U.S. goods trade

deficits the President invoked to justify the Universal and Reciprocal IEEPA Order are anything

but: they have existed for 50 years. Pls.’ Br. 31. The President’s own Order characterizes those

deficits as “persistent.” Exec. Order No. 14,257, Regulating Imports with a Reciprocal Tariff to

Rectify Trade Practices that Contribute to Large and Persistent Annual United States Goods Trade

Deficits, 90 Fed. Reg. 15,041, 15,041 (Apr. 2, 2025). The President cannot claim a national

emergency is “unusual” when his own description concedes it is not.

       The government’s main response is that the decision to declare a “national emergency” is

a question reserved to the political branches. Resp. 31-36. But none of the traditional Baker factors

counsels against judicial determination here. See Baker v. Carr, 369 U.S. 186, 217 (1962).

       For one, Plaintiffs do not ask this Court to make an “initial policy determination of a kind

clearly for nonjudicial discretion.” Baker, 369 U.S. at 217. To be clear, Plaintiffs do not ask this


                                                 16
          Case 1:25-cv-01248-RC        Document 17       Filed 05/07/25     Page 24 of 33




Court to adjudicate whether the U.S. goods trade deficits constitute a national emergency—a

determination arguably left to the President’s discretion. See 50 U.S.C. § 1621(a). But IEEPA

places additional requirements for the President’s exercise of power. Under IEEPA’s text, the

President can act only in the case of a national emergency threat that is “unusual and

extraordinary.” Id. § 1701(a). To be “unusual” is to be “rare,” Unusual, NEW WEBSTER’S

DICTIONARY OF THE ENGLISH LANGUAGE 1698 (1975)—something the long-standing trade deficit

is not.

          Legislative context confirms that Congress intended to limit the President’s IEEPA powers

to truly unique circumstances. See Genus Med. Techs. LLC v. FDA, 994 F.3d 631, 643 (D.C. Cir.

2021) (legislative history can help “confirm [a court’s] reading of the text”). In enacting IEEPA,

Congress expressed concern that the President had previously been given “essentially an unlimited

grant of authority *** in both the domestic and international economic arena” whenever there was

an “unterminated declaration of national emergency on the books.” H. REP. NO. 95-459, at 7.

Congress thus insisted that any emergency that could justify the exercise of IEEPA powers had to

be one that would be “rare and brief” and not “equated with normal, ongoing problems.” Id. at 10.

IEEPA’s statutory language reflects that intent.

          There are also “judicially discoverable and manageable standards” to resolve whether a

declared national emergency threat is “unusual.” Baker, 369 U.S. at 217. In asking whether a

punishment is “unusual” in the Eighth Amendment context, courts ask whether a punishment is

“different from that which is generally done.” Trop v. Dulles, 356 U.S. 86, 100 n.32 (1958). To

determine whether stock sales are “unusual” in the securities context, courts look to amounts and

timing to determine whether the sales are “significantly different *** from the directors’ previous

trading practices.” In re Verifone Holdings, Inc. S’holder Derivative Litig., No. 07-cv-06347



                                                   17
       Case 1:25-cv-01248-RC          Document 17        Filed 05/07/25      Page 25 of 33




(MHP), 2009 WL 1458233, at *9 (N.D. Cal. May 26, 2009). Determining whether the national

emergency is “unusual” does not require the Court to decide whether the President’s “action was

wise.” Al-Tamimi v. Adelson, 916 F.3d 1, 11 (D.C. Cir. 2019) (internal quotation marks omitted).

It presents a distinct “legal issue[],” requiring this Court to determine only whether the concededly

longstanding U.S. trade deficit is different from challenges routinely faced by the United States.

       Lastly, the fact that the application of IEEPA implicates issues of national security and

foreign affairs does not remove the President’s decisionmaking from this Court’s review. Contra

Resp. 35. The Supreme Court has long cautioned that “it is error to suppose that every case or

controversy which touches foreign relations lies beyond judicial cognizance.” Baker, 369 U.S. at

211; see also El-Shifa Pharm. Indus. Co. v. United States, 607 F.3d 836, 856 n.3 (D.C. Cir. 2010)

(Kavanaugh, J., concurring) (“[F]rom the time of John Marshall to the present, the Court has

decided many sensitive and controversial cases that had enormous national security or foreign

policy ramifications.”).

               2.      The challenged tariffs are not “reasonably related” to the claimed
                       national emergency.

       For the reasons described in Plaintiffs’ opening brief, the challenged tariffs are not

“reasonably related” to the claimed national emergency threat. See Pls.’ Br. 32-35. The

government argues that, too, is a political question. But again, Congress placed limits on the

President’s ability to exercise his IEEPA powers, and it is within this Court’s power to adjudicate

whether he has stayed within those limits. Specifically, Congress made clear that the President

may exercise his IEEPA powers only “to deal with an unusual and extraordinary threat with respect

to which a national emergency has been declared” and that those powers may “not be exercised

for any other purpose.” 50 U.S.C. § 1701(b). By requiring that the exercise of power actually




                                                 18
       Case 1:25-cv-01248-RC           Document 17        Filed 05/07/25      Page 26 of 33




“deal” with the threat and not be exercised for “any other purpose,” IEEPA’s text limits the

President’s actions to those that have a reasonable nexus to the national emergency.

       Assessing whether there is a reasonable relationship between the government’s ends and

its means “is a familiar judicial exercise.” Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189,

196 (2012); see, e.g., American Meat Inst. v. United States Dep’t of Agric., 760 F.3d 18, 26 (D.C.

Cir. 2014) (inquiring into whether there was a “reasonable fit between means and ends” (internal

quotation marks and citation omitted)). In the TWEA context, courts have thus been ready to assess

whether “the President’s action [is] rationally related to the national emergencies invoked.” United

States v. Spawr Optical Rsch., Inc., 685 F.2d 1076, 1081 (9th Cir. 1982); see also Yoshida II, 526

F.2d at 579 n.29 (“[T]he courts stand ready to inhibit actions not reasonably related to the authority

granted[.]”). This Court can also easily assess whether the President exercised his emergency

powers for a purpose “other” than the claimed national emergency threat: in this case, the Court

need only look to the President’s own articulated justifications explaining the “other” reasons for

the IEEPA tariffs. See Pls.’ Br. 34-35.3




   3
      In a different IEEPA case, this Court concluded that the political question doctrine applied to
the question of whether the President’s actions “deal[t] with” the stated national emergency. See
Htet v. Trump, No. 24-cv-1446 (RC), 2025 WL 522033, at *8 (D.D.C. Feb. 18, 2025). But the
Court acknowledged that section 1701(b) “deliberately places at least some boundaries on the
President’s use of Section 1702 powers” and cautioned that “the political question doctrine m[ight]
not apply to a more extreme fact pattern.” Id. at *6 n.3 (citing Gonzalez-Vera v. Kissinger, 449
F.3d 1260, 1264 (D.C. Cir. 2006)). This is that fact pattern. In Htet, the plaintiff asked this Court
to determine whether authorizing sanctions against the adult children of designated individuals
“effectively counters the threat to democracy and political rights in Burma.” Id. at *7. Here, by
contrast, Plaintiffs ask this Court to determine only the reasonableness of the relationship between
the President’s goal of reducing the overall U.S. trade deficit and, for instance, his imposition of
tariffs on countries that already help reduce that deficit. See Pls.’ Br. 33. The disconnect here is
glaring.
                                                 19
       Case 1:25-cv-01248-RC           Document 17        Filed 05/07/25       Page 27 of 33




II.    PLAINTIFFS HAVE DEMONSTRATED A LIKELIHOOD OF IRREPARABLE
       HARM
       Plaintiffs have easily demonstrated that “irreparable injury is likely in the absence of an

injunction.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). The declaration

accompanying Plaintiffs’ Preliminary Injunction Motion describes several concrete and wholly

unrecoverable harms, both actual and imminent, arising from the challenged tariffs.

       Defendants dismiss those harms as “speculative,” trivialize their significance, and assert

that they amount to nothing more than a “temporary loss of income.” Resp. 36-40. These

arguments defy reality. The companies’ CEO painstakingly recounts how the tariffs are already

causing Plaintiffs to lose substantial sales and suffer other debilitating harm. For example, he

explains:

           “As of April 21st, we have received cancellations and ‘stop shipment’
            instructions for direct import orders totaling more than $1 million because of
            the new tariffs.” Woldenberg Decl. ¶ 10.

           “Because of the tariffs, we have already had to cancel shipments and delay
            production in China.” Id. ¶ 21.

           “The Companies have collectively already paid over $1 million based on the
            new 2025 tariff rates,” id. ¶ 7, and “the total estimated duties and tariffs on all
            of the merchandise in” shipments en route “is greater than $1 million,” “which
            constitutes an extraordinary and unplanned expense.” Id.

           “To address the financial impact of the sudden, unbudgeted and massive tariff
            cost[,]” Plaintiffs “have been working to cut [their] operating expenses by 10%
            since January and will need to cut those expenses even further,” including costs
            “on cash expenditures like advertising, CapEx, and hiring.” Id. ¶ 13.

           Plaintiffs “have no realistic way to cover these [tariff] costs, which means the
            tariffs act as an immediate ban on the products we import.” Id. ¶ 15.

       The CEO’s predictive judgment about the snowballing impacts of continuing IEEPA tariffs

is based on articulated experience and data. For instance, in addition to the cancellations and stop

shipment orders, he explains that Plaintiffs have lost sales in the past based on price increases of


                                                  20
        Case 1:25-cv-01248-RC            Document 17       Filed 05/07/25      Page 28 of 33




less than 2%. Woldenberg Decl. ¶ 18. That the far greater (70%+) price hikes necessitated by

massive new tariffs are likely to lead to permanently lost sales follows as a matter of common

sense. Id. ¶ 9. The CEO explains how he determined that paying the tariffs in 2025 would result

in more than $100 million in cash expenditures—an amount exceeding the amount Plaintiffs

budgeted for every non-salary expense combined. Id. ¶ 14. His expectation of a year-over-year

sales decline of at least 25% and perhaps as much as 50% is based on these realities, not

speculation. Id. ¶ 11. Even President Trump recently acknowledged what everyone (except

Defendants’ brief) already understands: these tariffs will lead to empty shelves, fewer sales, and

higher prices. See Michael Collins, ‘Two Dolls Instead of 30’: Trump Acknowledges Prices Will

Force      Consumers        to     Cut      Back,        USA    TODAY        (Apr.     30,      2025),

https://www.usatoday.com/story/news/politics/2025/04/30/trump-china-tariffs-

toys/83372961007/ (President: “You know, somebody said, ‘Oh, the shelves are going to be

open.’” “Well, maybe the children will have two dolls instead of 30 dolls” and “maybe the two

dolls will cost a couple of bucks more than they would normally.”).4

        Defendants nonetheless make the astonishing argument that the harms from the 145%

IEEPA tariffs on China are “not sufficient” because “only” about “‘60% of the products [plaintiffs]

sell or consume as components (by costs) are manufactured in China.’” Resp. 37 (quoting

Woldenberg Decl. ¶¶ 6, 27). “Only”? The notion (as any business owner can confirm) that an

“[i]njury is not ‘certain’ or ‘great’ if it affects only about half of plaintiffs’ business,” id. at 38



   4
     Of course, Plaintiffs are hardly alone in facing these harms. According to a recent survey of
410 small- and medium-sized members of the Toy Association, more than 80% are delaying
orders, well more than half are cancelling orders, and nearly half have reported that they would go
out of business within weeks or months. The Toy Association, Christmas and Toy Companies are
at Risk! Toy Association Member Survey Reveals Alarming Impact of 145% Tariffs (Apr. 18,
2025), https://www.toyassociation.org/PressRoom2/News/2025_News/toy-association-member-
survey-reveals-alarming-impact-of-145-percent-tariffs.aspx.
                                                    21
           Case 1:25-cv-01248-RC        Document 17       Filed 05/07/25     Page 29 of 33




(citation omitted), is both deeply misguided and (unsurprisingly) unsupported by any precedent.

This is not a situation in which a Fortune 20 company is claiming irreparable harm based upon

losses of less than 1 percent of its total sales. See Resp. 38-39 (citing Cardinal Health, Inc. v.

Holder, 846 F. Supp. 2d 203, 211 (D.D.C. 2012)).5

           The specified harms, moreover, are neither temporary nor remediable later. Defendants

acknowledge that any financial remedy available to Plaintiffs would be limited to a refund of the

duties paid (though they cryptically suggest that “loss of business opportunities and goodwill” may

be recovered “indirectly,” Resp. 38). But a refund is wholly inadequate when no products can be

imported feasibly and thus no duties are ever paid. Regardless, it takes no great imagination to

understand that a someday possible refund could not come close to making Plaintiffs whole on

their loss of income or their inability to import products, fill customer orders, obtain critical

financing, and maintain feasible pricing right now. Floating an extra $100 million is not something

Plaintiffs can do. Recognizing that undeniable fact hardly creates a “‘per se irreparable harm rule’

in tariff challenges.” Id. at 36-37 (quoting Corus Grp. PLC v. Bush, 217 F. Supp. 2d 1347, 1355

(Ct. Int’l Trade 2002)). Instead, it simply acknowledges that the devastating harms posed by these

specific tariffs, on these specific family-owned U.S. businesses, are irreparable.

III.       THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST FAVOR
           PLAINTIFFS
           Defendants’ discussion of the equities and public interest rests on inapplicable concerns

associated with nationwide preliminary injunctions. See Resp. 42-43. Plaintiffs here are seeking to



       5
       Defendants claim that Plaintiffs “recently moved 16 percent of their manufacturing away
from the PRC at a comparatively minimal cost,” and thus any injury from the tariffs on China “can
be mitigated at marginal cost.” Resp. 38. That is a gross distortion of the CEO’s statement, which
explains that it took the company years and $2 million in out-of-pocket costs to move that small
share of the companies’ manufacturing out of China to other countries (all of which are now subject
to at least 10% baseline IEEPA tariffs and larger suspended IEEPA tariffs).
                                                  22
       Case 1:25-cv-01248-RC           Document 17        Filed 05/07/25       Page 30 of 33




enjoin the application of the challenged tariffs as to their own imports only. Prohibiting Defendants

from applying the (unlawful) tariffs to Plaintiffs temporarily, pending further litigation, will have

next to no impact on Defendants’ ability to pursue its asserted “foreign affairs” interests. Id. at 41.

       Relying on Hanson v. District of Columbia, 120 F.4th 223 (D.C. Cir. 2024), Defendants

make speculative arguments about what would happen if other parties sought similar relief. But in

Hanson, the court had already held that plaintiff had a weak argument on the merits; plaintiff failed

to show irreparable harm in the absence of the injunction; and defendant would suffer long-term

harm even if the injunction were later lifted. Id. at 242-248. The plaintiff thus could not overcome

the case’s other shortcomings simply by asking the court to “rebalance the equities by limiting

injunctive relief” to the named parties. Id. at 247. By contrast, because Plaintiffs’ success and harm

showings here are strong and the relief they seek is limited, the Court need not speculate about

how the balance might play out differently in a different case.

IV.    THE COURT SHOULD NOT REQUIRE MORE THAN A NOMINAL BOND
       Defendants ask the Court to limit the preliminary injunction to Plaintiffs, which is all

Plaintiffs seek. But Defendants also ask the Court to order Plaintiffs “to post Single Transaction

Bonds” for all such entries “in an amount equal to the total entered value, plus all applicable duties,

taxes, and fees, including the duties that would otherwise have been deposited pursuant to the

executive orders.” Resp. 43 (emphasis added). In other words, Defendants demand a costly self-

defeating bond that would cover amounts beyond even the sums Plaintiffs are seeking to enjoin

and that would still leave Plaintiffs at risk of paying the 145% tariffs after the fact, either to the

government directly or to the surety as reimbursement for collections on the bond. Just like the




                                                  23
         Case 1:25-cv-01248-RC         Document 17       Filed 05/07/25      Page 31 of 33




tariffs themselves, such bonding conditions would act as an effective prohibition on Plaintiffs’

importing from China.6

         The Court should reject Defendants’ request to impose a bond that would nullify the benefit

of any preliminary injunction. Rule 65(c) of the Federal Rules of Civil Procedure “has been read

to vest broad discretion in the district court to determine the appropriate amount of an injunction

bond.” DSE, Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999). That discretion includes the

option of not requiring a bond at all, see, e.g., National Council of Nonprofits v. Office of Mgmt.

& Budget, No. 25-cv-239 (LLA), 2025 WL 597959, at *19 (D.D.C. Feb. 25, 2025), including

“where requiring [one] would have the effect of denying the plaintiffs their right to judicial review

of administrative action,” Natural Res. Def. Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C.

1971) (collecting cases). Moreover, in considering whether to impose a bond and its amount in

cases involving the government as the defendant, “[i]t would be a mistake to treat a revenue loss

to the Government the same as pecuniary damage to a private party.” Id. at 169.

         Under those principles, the Court should exercise its discretion to impose no more than a

nominal bond. Given the untenable costs and risks to Plaintiffs, imposing the oppressive bond the

government seeks would essentially leave them in the same position they are in now—unable to

import the majority of their products and suffering irreparable harm.

V.       THE COURT MAY TREAT THE PRELIMINARY INJUNCTION MOTION IN A
         MANNER THAT ALLOWS FOR ENTRY OF FINAL JUDGMENT
         Ultimately, the Court may avoid grappling with the government’s suspect arguments on

irreparable harm, the balancing of the equities, and the bonding requirement by deciding the

ultimate merits instead of ruling on a preliminary injunction. That is because, as both parties’


     6
     Defendants also seek other burdensome and infeasible requirements, such as forcing Plaintiffs
to “identify the entries, by entry number, importer name, and importer number, that would be
covered by any such order.” Resp. 43.
                                                 24
       Case 1:25-cv-01248-RC          Document 17        Filed 05/07/25     Page 32 of 33




briefing has confirmed, there are no factual or evidentiary disputes on the dispositive legal issue

of whether IEEPA permits the imposition of tariffs. One procedural option is to “advance the trial

on the merits.” FED. R. CIV. P. 65(a)(2) (“Before or after beginning the hearing on a motion for a

preliminary injunction, the court may advance the trial on the merits and consolidate it with the

hearing.”); see, e.g., Minute Order, Dellinger v. Bessent, No. 25-cv-00385 (D.D.C. Feb. 15, 2025)

(“In the absence of opposition on the part of either party, it is hereby further ORDERED that the

Court’s consideration of the motion for preliminary injunction will be consolidated with

consideration of the merits pursuant to Federal Rule of Civil Procedure 65(a)(2).”). Another option

is to treat the preliminary injunction motion as one for (partial) summary judgment. See, e.g.,

Capital Area Immigrants’ Rights Coal. v. Trump, 471 F. Supp. 3d 25 (D.D.C. 2020) (issuing

summary judgment after converting motion for preliminary injunction); Morris v. District of

Columbia, 38 F. Supp. 3d 57 (D.D.C. 2014) (same). Either consolidating the preliminary

injunction hearing with a “trial on the merits” or treating it as a summary judgment motion would

permit the Court to make a definitive merits ruling regarding Defendants’ IEEPA authority and

afford injunctive relief in a final judgment (without the need to resolve the remaining preliminary

injunction-specific issues, including bond).

                                         CONCLUSION
       This Court should preliminarily enjoin the agency Defendants and their agents, employees,

and all persons acting under their direction and control, from taking any action to collect tariffs

from Plaintiffs under the Challenged Orders.7


   7
      The government argues that this Court should “grant defendant’s motion to transfer before
the hearing on plaintiffs’ preliminary injunction motion.” Resp. 10. As explained in Plaintiffs’
transfer response (ECF No. 18 at 12 n.7), the principal merits argument for a preliminary injunction
is coextensive with the jurisdictional question, and the Court has already scheduled a hearing to
consider both motions. Accordingly, the sensible course is for the two overlapping motions to be
decided together.
                                                25
     Case 1:25-cv-01248-RC   Document 17   Filed 05/07/25       Page 33 of 33




Dated: May 7, 2025                    Respectfully submitted,

                                      /s/ Pratik A. Shah
                                      Pratik A. Shah
                                        D.C. Bar No. 497108
                                      James E. Tysse
                                        D.C. Bar No. 978722
                                      Matthew R. Nicely
                                         D.C. Bar No. 430564
                                      Daniel M. Witkowski (admission pending)
                                        D.C. Bar No. 1028791
                                      Kristen E. Loveland
                                        D.C. Bar No. 1684978
                                      AKIN GUMP STRAUSS HAUER
                                        & FELD LLP
                                      2001 K Street N.W.
                                      Washington, D.C. 20006
                                      Tel: (202) 887-4000
                                      pshah@akingump.com

                                      Counsel for Plaintiffs




                                    26
